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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,

                Plaintiff,
                                                     No. 1:25-cv-00168-GBW
           v.

 KPLER HOLDING SA,

                Defendant.

                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on March 25, 2025, true and correct copies of (i)

Defendant Kpler Holding SA’s Second Set of Interrogatories to Plaintiff (Nos. 6-10), and (ii)

Defendant Kpler Holding SA’s Second Set of Requests for Production of Documents to Plaintiff

were served on the following counsel via electronic mail:

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Dated: March 25, 2025




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